






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. AP-75,990 &amp; AP-75,991




EX PARTE NATHANIEL HOWARD, III, Applicant




ON APPLICATIONS FOR WRITS OF HABEAS CORPUS
CAUSE NOS. 007-1360-07-A AND 007-1359-07-A
IN THE 7TH DISTRICT COURT FROM SMITH COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court these applications for writs of habeas corpus.  Ex
parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
sexual assault and aggravated kidnapping and sentenced to life imprisonment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that Applicant always wanted to appeal and he was wholly
deprived of the right to appeal through no fault of his own.  We find, therefore, that Applicant is
entitled to the opportunity to file out-of-time appeals of the judgments of conviction in Cause No.
007-1360-07-A and 007-1359-07-A from the 7th Judicial District Court of Smith County.  Applicant
is ordered returned to that time at which he may give written notices of appeal so that he may then,
with the aid of counsel, obtain meaningful appeals.  All time limits shall be calculated as if the
sentences had been imposed on the date on which the mandates of this Court issue.  We hold that,
should Applicant desire to prosecute appeals, he must take affirmative steps to file written notices
of appeal in the trial court within 30 days after the mandate of this Court issues.
&nbsp;
Delivered: September 10, 2008
Do Not Publish


